Case:13-19032-MER Doc#:55 Filed:08/07/13              Entered:08/07/13 12:15:59 Page1 of 4




                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF COLORADO

In Re:                                        ) Case No. 13-19032 MER
                                              )
Terry Lee Evanson                             ) Chapter 11
SS# XXX-XX-9483                               )
                                              )
Lynette Pearce Evanson                        )
SS# XXX-XX-5531                               )
                                              )
                         Debtors              )



         DEBTORS’ AMENDED WITNESS AND EXHIBIT LIST FOR HEARING ON
           COMMAND CENTER, INC.’S MOTION FOR RELIEF FROM STAY


        Terry Lee Evanson (“T. Evanson”) and Lynette Pearce Evanson (“L. Evanson”)
(collectively, the “Evansons” or “Debtors”), through undersigned counsel, submits the following
Amended Witness and Exhibit List for hearing on Command Center’s Motion for Relief from
Stay:

I.       WITNESSES

         Debtors WILL call the following witnesses:

        1.      Terry Lee Evanson, 10175 South Oneida, Littleton, CO 80124. Mr. Evanson will
testify that neither he nor is wife are “necessary parties” to the Denver District Court case,
AdvantEdge Insurance Group, LLC v. Command Center, Inc., Case No. 2010CV4135 (the “Civil
Action”). The Civil Action was commenced by AdvantEdge Insurance Group, LLC against
Command Center on or around May 19, 2010. Mr. Evanson was will testify that Debtors are
not necessary parties to the Civil Action as evidenced by the fact that neither he nor his wife
were even added as additional third party defendants to the Command Center Cross Claims
until March 28, 2012 when Command Center filed its Third Amended Answer and
Counterclaims. As evidenced by Exhibits C – E, attached hereto, Command Center previously
filed three Amended Answers and Counterclaims, which also included third-party claims against
Moreton Insurance of Colorado, LLC d/b/a Moreton & Company. The Amended Answers were
filed on July 26, 2010, December 16, 2010 and June 9, 2011. Mr. Evanson will also testify as to
all other issues raised in the Motion and Objection.

      2.      Lynette Pearce Evanson, 10175 South Oneida, Littleton, CO 80124. Mrs.
Evanson will testify that she is not a “necessary party” to the Civil Action. Mrs. Evanson was
                                              1
Case:13-19032-MER Doc#:55 Filed:08/07/13               Entered:08/07/13 12:15:59 Page2 of 4




not brought in as a party until March 28, 2012 when Command Center filed its Third Amended
Answer and Counterclaims. As evidenced by Exhibits C – E, attached hereto, Command Center
previously filed three Amended Answers and Counterclaims, which also included third-party
claims against Moreton Insurance of Colorado LLC d/b/a Moreton & Company. The Amended
SAnswers were filed on July 26, 2010, December 16, 2010 and June 9, 2011. In addition, Mrs.
Evanson will testify that she is not a necessary party because there is only one claim asserted
against her in the Third Amended Answer and Counterclaims, Piercing the Corporate Veil –
Special Remedy, which claim is specifically brought against Moreton Insurance and seeks
recovery of any judgment on that claim from Ms. Evanson. Mrs. Evanson will also testify as to
all other issues raised in the Motion and Objection.

       Debtors MAY call the following witnesses:

       1.        Heather Cleary, Ritsema & Lyon, P.C., 999 18th Street, Suite 3100, Denver, CO
80202. Ms. Clear may be called to testify as to the AdvantEdge Adversary Proceeding,
Command Center, Inc. v. AdvantEdge Insurance Group, LLC, United States Bankruptcy Court
for the District of Colorado, Case No. 13-10006-MER, as well as the Civil Action.

       2.     Any witness listed or called by any other party

       3.     Any witness necessary for rebuttal or impeachment; and

       4.     Any witness necessary for authentication of exhibits.

II.    EXHIBITS

      Debtors intend to introduce as exhibits at hearing those exhibits enumerated in
Attachment 1, attached hereto and incorporated herein.

Respectfully submitted this 7th day of August, 2013.

                                            ALLEN & VELLONE, P.C.

                                            /s/Patrick D. Vellone
                                            Patrick D. Vellone, # 15284
                                            Kevin D. Allen, #8878
                                            Tatiana G. Popacondria, # 42261
                                            1600 Stout Street, Suite 1100
                                            Denver, CO 80202
                                            Telephone: (303) 534-4499

                                            ATTORNEYS FOR THE DEBTORS-IN-POSSESSION



                                               2
Case:13-19032-MER Doc#:55 Filed:08/07/13               Entered:08/07/13 12:15:59 Page3 of 4




                                CERTIFICATE OF SERVICE

        I hereby certify that on August 7, 2013, I electronically filed with the Clerk of the Court
using CM/ECF system and served by prepaid first class mail a copy of the foregoing on the
following parties listed below:
                                                     Jeffrey A. Weinman
Clarissa M. Raney                                    730 17th St., Ste. 240
       th
555 17 St., Ste. 3200                                Denver, CO 80202-3506
Denver, CO 80202-3921
                                                     Douglas County Treasurer
William C. Brittan                                   Attn: Stephanie Cook
270 St. Paul St., Ste. 200                           100 Third Street
Denver, CO 80206-5133                                Castle Rock, CO 80104

U.S. Trustee                                         Heather S. Cleary, Esq.
999 18th St., Ste. 1551                              999 18th Street, Suite 3100
Denver, CO 80202-2415                                Denver, CO 80202

Alan K. Motes                                        Kenneth J. Buechler
United States Trustee Program                        Buechler Law Office, LLC
999 18th St., Ste. 1551                              1621 18th Street, Suite 260
Denver, CO 80202-2415                                Denver, Colorado 80202




                                                     /s/ Juanita E. Sena_______________
                                                     Juanita E. Sena




                                                3
Case:13-19032-MER Doc#:55 Filed:08/07/13           Entered:08/07/13 12:15:59 Page4 of 4

                                        ATTACHMENT 1

                       UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF COLORADO


                  In re: Terry Lee Evanson and Lynette Pearce Evanson
                           Chapter 11, Case No. 13-19032-MER

  SUBMITTED BY: TERRY LEE EVANSON AND LYNETTE PEARCE EVANSON
  In connection with: August 7, 2013 hearing on Command Center, Inc.’s Motion for Relief
       from Stay

   Ex. No.    Brief Description             Offered Admitted Additional Comments
                                            (Yes/No) (Yes/No)
   A.         Motion for Examination
              of Terry Lee Evanson and
              Lynette Pearce Evanson
   B.         Objection to Discharge
              And Complaint Under
              523(a)(2), (4) & (6) of the
              Bankruptcy Code to
              Determine the
              Dischargeability of a
              Debt, Bankruptcy Case
              No. 13-10006-MER
   C.         Command Center’s
              Amended Answer to
              Complaint Counterclaims
              and Third Party
              Complaint Against
              Moreton & Company
   D.         Command Center’s
              Amended Answer to
              Complaint and
              Counterclaims
   E.         Command Center’s
              Amended Answer to
              Complaint and Amended
              Counterclaims
   F.         Any pleading or exhibit
              used in present case
   G.         Any exhibit identified or
              offered by any other party
   H.         Any documents necessary
              for rebuttal or
              impeachment
              purposes
